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                                          U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                       July 7, 2023

BY CM/ECF
The Honorable Lewis A. Kaplan
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

               Re:     United States v. Blaszczak
                       S1 17 Cr. 357 (LAK)

Dear Judge Kaplan:

               Pursuant to the Court’s June 13, 2023 Order, the Government is scheduled to update

the Court about proposed next steps in this case by July 10, 2023. The Government respectfully

writes, with the consent of the defendants, to request that this filing date be adjourned until July

24, 2023. The Government also requests, with the consent of the defendants, that time under the

Speedy Trial Act be excluded until July 24, 2023.

                                                    Respectfully submitted,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney


                                              By:      /s/
                                                    Alexandra Rothman
                                                    Assistant United States Attorney
                                                    (212) 637-2580

cc:    Counsel of Record
